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                                                                                                       E-FILED
                                                                    Friday, 06 September, 2019 03:49:03 PM
                                                                                Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

PATRICK PIZZELLA, Acting Secretary of  )
Labor, United States Department of Labor,
                                       )
                                       )
                Plaintiff,             )
                                       )                     Case No.: 19 CV 1272
          v.                           )
                                       )
TEQUILA’S MEXICAN BAR & GRILL, INC., )
OWEN HECTOR MUNOZ, an individual, and, )
JAVIER MUNOZ, an individual,           )
                                       )
                Defendants.            )

                                    CONSENT JUDGMENT

       Plaintiff, PATRICK PIZZELLA, Acting Secretary of Labor, United States Department

of Labor (“Plaintiff”), having filed his Complaint and the Defendants TEQUILA’S MEXICAN

BAR & GRILL, INC., OWEN HECTOR MUNOZ, an individual and JAVIER MUNOZ an

individual, (collectively “Defendants”), hereby acknowledge receipt of the Complaint herein and

waive service thereof, having been duly advised in the premises, agree to the entry of this judgment

without contest under the Fair Labor Standards Act of 1938, as Amended (29 U.S.C. § 201 et seq.)

(hereinafter “the Act”). Therefore, upon motion of the attorneys for Plaintiff, and for cause shown:

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, pursuant to section 17 of

the Act, that the Defendants, their officers, agents, servants, employees, successors, assigns and

all persons in active concert or participation with them, hereby are permanently enjoined and

restrained from violating the provisions of the Act in any of the following manners:

                                                I

       A. Defendants shall not fail to make, keep, and preserve records of their employees and of

           the wages, hours, and other conditions and practices of employment maintained by
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           them as prescribed by the regulations issued, and from time to time amended, pursuant

           to section 11(c) of the Act and found in 29 C.F.R. Part 516.

       B. Specifically, Defendants shall provide to each employee on each pay date with a pay

           stub reflecting specific dates of the pay period, total hours worked and paid, including

           total earnings at the regular rate and the overtime rate, gross amounts paid, and any

           deductions taken by Defendants. Further, Defendants shall maintain records of the

           hours worked each workday and each workweek for employees; and employee

           information including employee’s full names, addresses, occupation and shifts worked,

           dates of hire, and hourly rates or salaries.

       C. Defendants shall post in a place visible to employees a Federal FLSA poster, available

           at http://www.dol.gov/whd/resources/posters.htm, in English and Spanish.

       D. Each individual defendant shall comply with the provisions stated hereinabove at any

           currently owned or operated restaurant or any restaurant owned or operated in the future

           by them.

                                                 III

       Each party shall bear its own fees and other expenses incurred by such party in

connection with any stage of this proceeding to date with no costs and expenses, including but

not limited to, any and all costs and expenses referenced under the Equal Access to Justice Act,

as Amended.




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          This Court shall retain jurisdiction for purposes of enforcing compliance with the terms

of this final judgment pursuant to Federal Rule of Civil Procedure 54.

                                       IT IS SO ORDERED.


          ENTERED this 6th day of September, 2019.

                                                              /s/ Michael M. Mihm
                                                                Michael M. Mihm
                                                           United States District Judge


          Entry of this Judgment is hereby consented to and notice by the Clerk to the Defendants

is hereby waived:

For Defendants:                                        For Plaintiff:
TEQUILA’S MEXICAN BAR & GRILL,                         PATRICK PIZZELLA
INC., OWEN HECTOR MUNOZ, an                            Acting Secretary of Labor
individual and JAVIER MUNOZ,
an individual                                          KATE S. O’SCANNLAIN
                                                       Solicitor of Labor

      s/Hector Munoz                                   CHRISTINE Z. HERI
Its       Owner                                        Regional Solicitor

                                                       _s/Linda J. Ringstad________
370 West Washington                                    LINDA J. RINGSTAD
East Peoria, IL 61611                                  Counsel for Wage and Hour
 s/Hector Munoz _                                      U.S. Department of Labor
OWEN HECTOR MUNOZ, an individual                       Office of the Solicitor
                                                       230 S. Dearborn St., Room 844
                 .                                     Chicago, IL 60604
                                                       Telephone: (312) 353-3668
                                                       Email: ringstad.linda@dol.gov
__s/Javier
       Munoz_________________________
JAVIER MUNOZ, an individual


_s/Jason B. Netzley_____________________
Attorney Jason B. Netzley – ARDC# 6283623
BRAVE LAW CENTER, P.C.
330 NE Perry Ave.

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Peoria, IL 61603
Phone (309) 685-7900
Fax (309) 439-9433
Email: office@getbravelaw.com



Dated: August 9, 2019




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